Case 5:12-cr-00032-JPB-JES Document 197 Filed 02/26/15 Page 1 of 6 PageID #: 681
Case 5:12-cr-00032-JPB-JES Document 197 Filed 02/26/15 Page 2 of 6 PageID #: 682
Case 5:12-cr-00032-JPB-JES Document 197 Filed 02/26/15 Page 3 of 6 PageID #: 683
Case 5:12-cr-00032-JPB-JES Document 197 Filed 02/26/15 Page 4 of 6 PageID #: 684
Case 5:12-cr-00032-JPB-JES Document 197 Filed 02/26/15 Page 5 of 6 PageID #: 685
Case 5:12-cr-00032-JPB-JES Document 197 Filed 02/26/15 Page 6 of 6 PageID #: 686
